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                  UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



DEBORAH K. MURPHY-DAVIDSON,

               Plaintiff,                         JUDGMENT IN A CIVIL CASE
v.
                                                  Case No. 1:14-CV-779
KENNETH J. STOLL, et al.,

          Defendants.
_________________________/


              Jury Verdict. This action came before the Court for a trial by jury. The issues
               have been tried and the jury has rendered its verdict.

        “      Decision by the Court. This action came to trial or hearing before the Court.
               The issues have been tried or heard and a decision has been rendered.


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of Defendant.




                                                  THOMAS L. DORWIN
                                                  Clerk of Court

        Dated: July 14, 2017                      By /s/ Jessica Wright
                                                     Deputy Clerk
